Cased 2OccwOAS655GKK Oboumanh234. Afitettk0tks120 PRagetioifil

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

Horace Parker,
Case No, 1:20-cv-02655-JGK

Plaintiff,

ORDER OF DISMISSAL WITH
_ against PREJUDICE

Chase Bank (USA), National Association and
Experian Information Solutions, Inc.,

Defendant(s).

 

 

Plaintiff Horace Parker, by counsel, and Defendant Experian Information Solutions, Inc.,
by counsel, having filed their Stipulation Of Dismissal With Prejudice Between Plaintiff And
Defendant Experian Information Solutions, Inc., AND THE COURT, having been duly advised,
NOW FINDS that the same should be granted.

IT IS, THEREFORE, ORDERED that all claims of Plaintiff Horace Parker against
Defendant Experian Information Solutions, Inc. are dismissed, with prejudice, Plaintiff Horace

Parker and Defendant Experian Information Solutions, Inc. shall each bear their own costs and

attorneys’ fees.

Date: f ef i s/o - Q, j Ks ocler”

JUDGE, United States District Court,
Southern District of New York

 

USDC SDNY

DOCUMENT
ELECTRONICALLY FILED

poc# __. , |
DATE FILED: JOU b/ 2020

  

 
